                         Case 1:21-cr-00228-MLB-RDC Document 2 Filed 06/08/21 Page 1 of 1
U.S. Department of Justice
United States Attorney



                                                                                                                     FILED IN OPEN COURT
                                                                                                                       U.S.D.C.-Atlanta
                                    IN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF GEORGIA                                          JUN -8 2021
                                                                Division: Atlanta                                             MTEN, Cterk
                                                                (USAO: 2018R00945)                                               Deputy Clerk


                                DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION


COUNTS NAME:                                                            DISTRICT COURT NO.
                                                                                                    1<21CR0228
                                                                        MAGISTRATE CASE NO.

X Indictment                                      Information                               Magistrate's Complaint
DATE: June 8,2021                                 DATE:                                     DATE:

                             UNFTED STATES OF AMERICA                  INDICTMENT
                                       vs.                             Prior Case Number:
                                 VIKAS SINGLA                          Date Filed:

GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                          Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? X Yes No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No


Will the defendant require an interpreter? Yes X No




District Judge:



Attorney: SamirKaushal
Defense Attorney:
